
Upon consideration of the letter of December 4, 2014, from counsel for petitioner in No. 14-47 on behalf of the parties, the following briefing schedule is adopted. The petitioners and respondents in support shall file a total of no more than three briefs on the merits, not to exceed 35,000 words in aggregate, on or before Tuesday, January 20, 2015. The respondents shall file briefs on the merits on or before Wednesday, February 25, 2015, as follows: brief of federal respondents not to exceed 15,000 words, and briefs for state and local government respondents, industry respondents, and nonprofit respondents, not to exceed 10,000 words each. Reply briefs of petitioners and respondents in support, not to exceed 12,000 words in aggregate, shall be filed on or before Wednesday, March 18, 2015.
